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UNITED STATES DISTRICT COURT                                              ,,, ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
                                                                              DOC #: _ _ __.,..---r--
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UNITED STATES OF AMERICA ,                                                    DATE FILED: 10      ]~~.rsv.
                     -against-                                                  19 CR 903 (KMW)

                                                                                   SENTENCING
                                                                               SCHEDULING ORDER
JORGE SOTO

                                                             Defendant.
------------------------------------------------------------------x
KIMBA M. WOOD, District Judge

          The Defendant is scheduled to be sentenced on January 4, 2021 at 11 :00 a.m.

          The Presentence Investigation Report is due to the Court on December 28, 2020.

          Any sentencing submissions by Defendant must be made by December 29, 2020, and must state

specifically whether Defendant contests any fact in the Presentence Report, and whether Defendant contests

the appropriateness of the Probation Officer' s Sentencing Recommendation.

          Defense counsel must arrange for the presentence interview to occur within 14 days of the defendant's

guilty plea. The Government must submit a statement of facts to Probation within 14 days of the defendant ' s

guilty plea. The Government must submit its 5K 1.1 letter, if applicable, 14 days before sentencing. All

counsel must review the Court's Individual Rules before submitting sentencing memoranda.

          Probation should contact Chambers if they experience difficulty scheduling the presentence interview

or if the PSR will not be completed in a timely fashion .

          Any response or other submission from the Government is due December 31 , 2020.




SO ORDERED

Dated: New York, New York
       October 20, 2020


                                                                                 KIMBA M. WOOD
                                                                          UNITED STATES DISTRICT JUDGE
